                                        Case 13-36355-LMI                     Doc 32    Filed 02/12/14       Page 1 of 12
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                               United States Bankruptcy Court
                                                                       Southern District of Florida
  In re          Andre Laforest Brevil                                                                       Case No.      13-36355
                                                                                                        ,
                                                                                       Debtor
                                                                                                             Chapter                      13




                                            SUMMARY OF SCHEDULES - AMENDED 2/12/2014
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS               LIABILITIES                OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                 201,490.00


B - Personal Property                                          Yes            4                  17,555.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                        452,204.41


E - Creditors Holding Unsecured                                Yes            1                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            8                                        491,481.09
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            1                                                                    4,304.54
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    3,991.73
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    21


                                                                        Total Assets            219,045.00


                                                                                         Total Liabilities             943,685.50




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                                         Case 13-36355-LMI                   Doc 32      Filed 02/12/14             Page 2 of 12
Form 6 - Statistical Summary (12/07)


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                                                               United States Bankruptcy Court
                                                                       Southern District of Florida
  In re           Andre Laforest Brevil                                                                              Case No.   13-36355
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                 13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                  0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                                0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                       4,304.54

              Average Expenses (from Schedule J, Line 18)                                                     3,991.73

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                        3,674.17


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                    249,730.24

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                  0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                              491,481.09

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                          741,211.33




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B6B (Official Form 6B) (12/07)


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  In re         Andre Laforest Brevil                                                                              Case No.       13-36355
                                                                                                       ,
                                                                                      Debtor

                                 SCHEDULE B - PERSONAL PROPERTY - AMENDED 2/12/2014
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                            Cash on Hand                                                    -                            20.00

2.    Checking, savings or other financial                    JPMorgan Chase Bank, N.A.                                       -                           200.00
      accounts, certificates of deposit, or                   Checking Account No.: XXXX8879
      shares in banks, savings and loan,
      thrift, building and loan, and                          Ryder Systems Federal Credit Union                              -                           300.00
      homestead associations, or credit                       Checking and Savings Account No.: XXXX0018
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Living room: Couch, Love seat, Center table,                    -                        1,500.00
      including audio, video, and                             Corner table, Wall unit, Lamp, TV, DVD, Stereo and
      computer equipment.                                     miscellaneous Decorative Items.
                                                              Kitchen: Refrigerator, Toaster, Microwave, Coffee
                                                              maker, Stove, 4 Chairs, 6 Pots, 8 Plates, 4 Cups, 16
                                                              Silverware and Misc small items.
                                                              Bedroom: Bed, Dress, Headboard and Nightstand.
                                                              Other Items: Washer, Dryer, Computer, Printer,
                                                              Video Camera, Digital Camera, Used Towels,
                                                              Sheets, Bedding and Comforters.
                                                              Value is debtors valuation based on age and
                                                              condition.

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Used clothes and shoes, value is debtors valuation              -                            60.00
                                                              based on age and condition.

7.    Furs and jewelry.                                       2 Man Watches (not name brand) and 2 Rings,                     -                           100.00
                                                              value is debtors valuation based on age and
                                                              condition.

8.    Firearms and sports, photographic,                      2 Hand Gungs and 2 Rifles, value is debtors                     -                           400.00
      and other hobby equipment.                              valuation based on age and condition.


                                                                                                                              Sub-Total >            2,580.00
                                                                                                                  (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Andre Laforest Brevil                                                                          Case No.       13-36355
                                                                                                   ,
                                                                                  Debtor

                                SCHEDULE B - PERSONAL PROPERTY - AMENDED 2/12/2014
                                                                         (Continuation Sheet)

                                                          N                                                           Husband,        Current Value of
                Type of Property                          O            Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                            Joint, or   without Deducting any
                                                          E                                                          Community Secured Claim or Exemption

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.




                                                                                                                          Sub-Total >                  0.00
                                                                                                              (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Andre Laforest Brevil                                                                             Case No.       13-36355
                                                                                                      ,
                                                                                     Debtor

                                SCHEDULE B - PERSONAL PROPERTY - AMENDED 2/12/2014
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2003 Nissan 350Z 2D                                            -                        5,000.00
    other vehicles and accessories.                           Vin: XXXX4247
                                                               miles: 116,315
                                                              Value obtained by Car Max

                                                              2002 Lexus LS 430                                              -                        6,000.00
                                                              VIN: XXXX68183
                                                              Miles 153,528
                                                              Valuation based on Car Max

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.




                                                                                                                             Sub-Total >          11,000.00
                                                                                                                 (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                                         Case 13-36355-LMI                Doc 32       Filed 02/12/14            Page 6 of 12
B6B (Official Form 6B) (12/07) - Cont.




  In re         Andre Laforest Brevil                                                                             Case No.        13-36355
                                                                                                      ,
                                                                                     Debtor

                                SCHEDULE B - PERSONAL PROPERTY - AMENDED 2/12/2014
                                                                            (Continuation Sheet)

                                                          N                                                              Husband,        Current Value of
                Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                               Joint, or   without Deducting any
                                                          E                                                             Community Secured Claim or Exemption

30. Inventory.                                                Business Inventory:                                             -                       3,975.00
                                                              2 Valiant Gateways (GWs) est $800
                                                              2 Cisco 5300 GWs est $1200
                                                              1 Cisco 5350 SW est $1250
                                                              1 HP Server $500
                                                              1 Cisco switch est $150
                                                              1 Hp Printer Old and used $50
                                                              1 Monitor old and used $25

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                             Sub-Total >            3,975.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >         17,555.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Andre Laforest Brevil                                                                                 Case No.           13-36355
                                                                                                           ,
                                                                                       Debtor

                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED 2/12/2014
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                              Specify Law Providing                           Value of                 Current Value of
                   Description of Property                                       Each Exemption                               Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Homestead Address: 3240 Mary Street #S207,                              Fla. Const. art. X, § 4(a)(1); Fla. Stat.                  63,490.00                        63,490.00
Miami, FL 33133-5273                                                    Ann. §§ 222.01 & 222.02
Parcel Identification Number: 01-4121-106-0240
Legal Description: COURTYARDS OF THE
GROVE CONDO UNIT S207 UNDIV .9% INT IN
COMMON ELEMENTS OFF REC 10681-1861 OR
16403-4034 0694 1
- Valuation obtained from Miami Dade County
Property Appraiser Office.
- Joint with Dorothy Sansaricq.
- Purchased and on title since 12/2005.

Cash on Hand
Cash on Hand                                                            Fla. Const. art. X, § 4(a)(2)                                    20.00                            20.00

Household Goods and Furnishings
Living room: Couch, Love seat, Center table,                            Fla. Const. art. X, § 4(a)(2)                                  980.00                         1,500.00
Corner table, Wall unit, Lamp, TV, DVD, Stereo
and miscellaneous Decorative Items.
Kitchen: Refrigerator, Toaster, Microwave,
Coffee maker, Stove, 4 Chairs, 6 Pots, 8 Plates,
4 Cups, 16 Silverware and Misc small items.
Bedroom: Bed, Dress, Headboard and
Nightstand.
Other Items: Washer, Dryer, Computer, Printer,
Video Camera, Digital Camera, Used Towels,
Sheets, Bedding and Comforters.
Value is debtors valuation based on age and
condition.

Automobiles, Trucks, Trailers, and Other Vehicles
2003 Nissan 350Z 2D                                                     Fla. Stat. Ann. § 222.25(1)                                  1,000.00                         5,000.00
Vin: XXXX4247
 miles: 116,315
Value obtained by Car Max




                                                                                                           Total:                  65,490.00                        70,010.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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   In re         Andre Laforest Brevil                                                                                          Case No.     13-36355
                                                                                                                   ,
                                                                                                  Debtor

               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED 2/12/2014

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N   I
                                                                                                                                              CLAIM
           AND MAILING ADDRESS
                                                             D   H       DATE CLAIM WAS INCURRED,                           N    L   S
                                                                                                                                                             UNSECURED
                                                             E
                                                                 W           NATURE OF LIEN, AND                            T    I   P       WITHOUT
            INCLUDING ZIP CODE,                              B                                                              I    Q   U
                                                                                                                                            DEDUCTING        PORTION, IF
           AND ACCOUNT NUMBER                                T   J         DESCRIPTION AND VALUE                            N    U   T                          ANY
                                                             O   C                 OF PROPERTY                              G    I   E       VALUE OF
             (See instructions above.)                       R
                                                                                SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxxx4956                                          Opened 2/15/08 Last Active 9/30/13                            E
                                                                   Homestead Address: 3240 Mary Street                           D
                                                                   #S207, Miami, FL 33133-5273
Cap One Na                                                         Parcel Identification Number:
3905 N Dallas Pkwy                                                 01-4121-106-0240
                                                                   Legal Description: COURTYARDS OF
Plano, TX 75093
                                                                 J THE GROVE CONDO UNIT S207 UNDIV
                                                                   .9% INT IN COMMON ELEMENTS OFF

                                                                        Value $                             63,490.00                        252,592.00          189,102.00
Account No. xxxxxxxx8091                                           Opened 11/13/06 Last Active 9/11/13
                                                                   Equity Line Of Credit
                                                                   9280 SW 123 Court Apt.406, Miami, FL
Chase                                                              33186
Po Box 24696                                                       Legal Descriptin: KENLAND POINTE
                                                                   CONDO III UNIT 406-S UNDIV 1.1084%
Columbus, OH 43224
                                                                 - INT IN COMMON ELEMENTS OFF REC
                                                                   12740-26 OR 22219-1026 042004 1

                                                                        Value $                            138,000.00                         50,083.00                    0.00
Account No. xxxxxx3768                                             First Mortgage
                                                                   9280 SW 123 Court Apt.406, Miami, FL
                                                                   33186
Ocwen Loan Servicing LLC                                           Legal Descriptin: KENLAND POINTE
PO BOX 6440                                                        CONDO III UNIT 406-S UNDIV 1.1084%
                                                                   INT IN COMMON ELEMENTS OFF REC
Carol Stream, IL 60197-6440
                                                                 - 12740-26 OR 22219-1026 042004 1
                                                                   Property is owned Jointly with Dorthy

                                                                        Value $                            138,000.00                        148,545.24            60,628.24
Account No. xxx-xxxx8183                                             2008
                                                                     PMSI
Toyota Motor Credit
                                                                   2002 Lexus LS 430
POB 8026
                                                                   VIN: XXXX68183
Cedar Rapids, IA 52408
                                                                 - Miles 153,528
                                                                   Valuation based on Car Max
                                                                        Value $                              6,000.00                           984.17                     0.00
                                                                                                                         Subtotal
 0
_____ continuation sheets attached                                                                                                           452,204.41          249,730.24
                                                                                                                (Total of this page)
                                                                                                                          Total              452,204.41          249,730.24
                                                                                                (Report on Summary of Schedules)

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B6I (Official Form 6I) (12/07)
 In re    Andre Laforest Brevil                                                                         Case No.        13-36355
                                                                         Debtor(s)

         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S) - AMENDED 2/12/2014
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               None.

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Systems Analyst
Name of Employer                    Ebyte Technologies, Inc.
How long employed                   1 Year
Address of Employer                 7855 NW 12th Street
                                    Suite 212
                                    Miami, FL 33126
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       3,500.00          $           N/A
2. Estimate monthly overtime                                                                             $           0.00          $           N/A

3. SUBTOTAL                                                                                              $         3,500.00        $                N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             419.63      $                N/A
     b. Insurance                                                                                        $               0.00      $                N/A
     c. Union dues                                                                                       $               0.00      $                N/A
     d. Other (Specify):                                                                                 $               0.00      $                N/A
                                                                                                         $               0.00      $                N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             419.63      $                N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         3,080.37        $                N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00      $                N/A
8. Income from real property                                                                             $               0.00      $                N/A
9. Interest and dividends                                                                                $               0.00      $                N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00      $                N/A
11. Social security or government assistance
(Specify):                                                                                               $               0.00      $                N/A
                                                                                                         $               0.00      $                N/A
12. Pension or retirement income                                                                         $               0.00      $                N/A
13. Other monthly income
(Specify):           Income Tax Refund                                                                   $           174.17        $                N/A
                     Rental Income                                                                       $         1,050.00        $                N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,224.17        $                N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,304.54        $                N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,304.54
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
 In re    Andre Laforest Brevil                                                               Case No.   13-36355
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) -
                              AMENDED 2/12/2014
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

 Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                1,446.13
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                         $                   80.00
                   b. Water and sewer                                                                      $                    0.00
                   c. Telephone                                                                            $                    0.00
                   d. Other See Detailed Expense Attachment                                                $                  204.00
3. Home maintenance (repairs and upkeep)                                                                   $                    0.00
4. Food                                                                                                    $                  300.00
5. Clothing                                                                                                $                    0.00
6. Laundry and dry cleaning                                                                                $                   25.00
7. Medical and dental expenses                                                                             $                    0.00
8. Transportation (not including car payments)                                                             $                  200.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                    0.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                    0.00
                   b. Life                                                                                 $                    0.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  203.87
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                 $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                  381.14
                   b. Other                                                                                $                    0.00
                   c. Other                                                                                $                    0.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other Rental Expenses- Non Homestead Mortgage payments                                                 $                1,151.59
    Other                                                                                                  $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                   $                3,991.73
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                4,304.54
b. Average monthly expenses from Line 18 above                                                             $                3,991.73
c. Monthly net income (a. minus b.)                                                                        $                  312.81
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B6J (Official Form 6J) (12/07)
 In re    Andre Laforest Brevil                                              Case No.   13-36355
                                                        Debtor(s)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) - AMENDED 2/12/2014
                                           Detailed Expense Attachment
Other Utility Expenditures:
Cable/Telephone/Internet                                                                 $         151.00
Cellphone                                                                                $          53.00
Total Other Utility Expenditures                                                         $         204.00
                                   Case 13-36355-LMI                    Doc 32       Filed 02/12/14      Page 12 of 12
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Andre Laforest Brevil                                                                              Case No.   13-36355
                                                                                   Debtor(s)                   Chapter    13




                 DECLARATION CONCERNING DEBTOR'S SCHEDULES - AMENDED 2/12/2014

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of             23
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 12, 2014                                                Signature   /s/ Andre Laforest Brevil
                                                                                   Andre Laforest Brevil
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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